Case 8-18-72852-reg Doc 17 Filed 06/22/18 Entered 06/22/18 15:54:23

Return Date: July 23, 2015, arl:sopm
UNlTED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In rec
DOREEN HOFFMAN, Case No. 8-18-72852-re,q
Chapter ll
Debtor(s)
x
NOTICE OF MOTION

PLEASE TAKE NOTICE that upon the annexed application of

Doreen Hoffman, Debtor-in~Possession , a hearing will be held before the Hon.

 

Robert E. Grossman , Bankruptey .ludge, to consider the motion for an Order

 

' granting relief as follows:

Motion to Emplov Bankruotcv Counsel. .lohn P, Fazzio Esci.. Fazzio Law. as counsel to the Debtor-in-
Possession.

 

 

 

 

Date and time of hearing: July 23.2018,1:30pm
Location: U.S. Bankruptcy Court

  

290 Federal Plaza
Central Islip, New York 11790
Courtroom # 860 , Floo
Dated: June 20. 2018 l .'/‘D, ` 7 /4\..-»-_-~/

 

S` alien /

rim ame; John P. Fazzio, Esq.

 

dd ss: 26 Broadway, let Floor

 

New York, NY 10004

 

PhOn€: 201-529-8024

 

Email: ifazzio@faz.ziolaw.com

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

x
In re:
DOREEN HOFFMAN, Case No. 8-18-72852-reg
Chapter ll
Debtor(s)
x
APPLICATION IN SUPPORT OF MOTION
To THE HON. Roberr E. Grossman , Bankrupf¢y Judge
I, Doreen HoFl:man, Debtor-fn-Possession , , make this application in

 

support of my motion for the following relief:

Tgk Employ Bankruptcy Counsel, John P. Fazzio Esg., hazzio Law, as counsel to the Debtor.

 

 

In support of this motion, I hereby allege as follows:

John P. Fazzio Esg. is admitted to the Bar in New York and is an experienced litigator With some
experience in bankruptcy law in the Federa| Bankruptcy Courts in both New York and New Jersey.

Mr. Fazzio will be assisted where necessary by co-counsel Thaddeus R. Maciag, Esq., who is highly
experienced in Chapter ll Reorganization (Mr. Maciag has represented clients in more than 120
C_hapter ll cases. and has served as Lead Attomev to the Debtor-in-Possession in more than 95 Chapter
11 Reoraanimtinn cases.

Per my agreement with Mr. Maciag and Mr. Fazzio, that they will not be duplicating work on this case,
nor will they be billing me for inter-attorney discussions between them.

 

 

 

 

 

Wherefore, Applicant prays for an Order granting the relief requested

./'\

Dated: 6/20/2018 A/M/W

l§igiéture y

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

Thaddeus R. Maciag, Esq.
MACIAG LAW, LLc

475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

 

Proposed Co-Counsel to the Debtor-in-Possession

 

 

 

 

In re: Case No.: 8-18-72852-reg
DOREEN HOFFMAN, Chapter 1 1
Debtor-in-Possession. Judge: Hon. Robert E. Grossman
APPLICATION FOR ENTRY OF

AN ORDER AUTHORIZING THE RETENTION
OF FAZZIO LAW AS COUNSEL TO THE DEBTOR
The application of DOREEN HOFFMAN (the “Applicant”), being the above-referenced
Debtor-in-Possession (“Debtor”i, applying by and through John P. Fazzio, Esq. of FAZZIO LAW
(the “Firm”), for entry of an order authorizing the retention of Fazzio Law as local New York
counsel to the Debtor, respectfully represents:
I. INTRODUCTION
l. This Application (the “application”) is filed seeking authorization to retain and employ
Bankruptcy Counsel in the instant Chapter ll Reorganization case.
2. On April 26, 2018 (the “Petition Date”), the Debtor filed a petition seeking an Order for
relief under the provisions of Chapter l l of Title l l of the United States Code, l l U.S.C.
§§ 101 et seq. (the “Bankruptcy Code”).
3. Since the Petition Date, the Debtor has continued in the management of her property as
Debtor-in-Possession pursuant to Sections 1107 and 1108 of the Banlcruptcy Code. No

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official committee of unsecured creditors or other statutory committee and no trustee has

been appointed in this case.

II. APPLICATION, JURISDICTION AND
STATUTORY PREDICATES FOR RELIEF

By this application the Debtor seeks to employ applicant John P. Fazzio, Esq. and the law
firm Fazzio Law.
This Court has jm'isdiction over this Application pursuant to 28 U.S.C. Sections 157 and
134 and the “Standing Order of Referral of Cases to Bankruptcy Judges” dated July 10,
1984 (Wa.rd, Acting C.J.). Venue in this District is proper pursuant to 28 U.S.C. Section
1408.
The statutory predicates for the relief sought herein are Section 327 of the Bankruptcy
Code, Rule 2014 of the F ederal Rules of Bankruptcy Procedure and Rule 2014-a of the
Local Rules of the United States Bankruptcy Court for the Southem District ofNew York.
l]]. TI-IE NEED FOR COUNSEL
The Debtor requires the services of the Firm, inter alia, to: (I) assist in the administration
of his Chapter ll proceeding, the preparation of operating reports and complying with
applicable law and rules, (ii) set a bar date, review claims and resolve claims which
should be disallowed; (iii) address issues relating to the gathering of the estate’s assets
and their sale, and (iv) assist in reorganizing and confirming a Chapter ll plan.
The Firm will make proper Applications for Compensation, with full disclosure. (Prior
to the Hling, the Firm received no retainer from the Debtor, since the bulk of the work on
this case will be done by our proposed co-counsel Maciag Law LLC, who did receive a
retainer, as detailed in the Application and Affirmation filed in this case in support of the
Debtor’s Motion to Employ Maciag Law LLC as Chapter l l counsel to the Debtor). Any

funds were owed to Fazzio Law upon our retention to file Chapter ll are waived.

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10.

11.

12.

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The Firm intends to bill the Debtor at our standard hourly rates, presently $375 for John
P. Fazzio Esq.; $325 for other Attorneys in the firm; $225 for our Managing Paralegal,
and $ 125 for other Paralegals, provided that any administrative or clerical work (i.e.
copying, preparing mailings, etc.) undertaken by the paralegal staff will be billed out at
an hourly rate of only $55.

The Debtor has selected the Firm for the reason that it is experienced in litigation and in
bankruptcy law, and can ably serve as local New York counsel, as assisted by proposed
co-counsel Thaddeus R. Maciag Esq. of the firm Maciag Law LLC; Mr. Maciag is very
experienced in Chapter ll Reor_ganization law, having served as Lead Attorney to the
Debtor-in-Possession in more than 95 Chapter ll Reorganization cases over the past 27
years and will act as our co-counsel as needed. It is accordingly submitted that the Firm
is qualified to represent the Debtor in this proceeding

The F irm does not represent any interest adverse to the interest of the Debtor or his estate
in the retention upon which it is to be engaged, other than having represented the Debtor
in some prior legal matters; any sums due re same are waived. The Firm has no
relationship with the Ofiice of the United States Trustee or any of its staff.

No agreement or understanding exists between The Firm and any other person, other than _
as permitted by Section 504 of the Bankruptcy Code, to share compensation received for
services rendered in connection with this/these case(s), nor shall The Firm share or agree

to share compensation received for services rendered in connection with this case with
any other person other than as permitted by Section 504 of the Bankruptcy Code . Local

New York counsel Fazzio Law would be separately compensated for the professional time
they spend on the case; our agreement with the Debtor is that Fazzio Law and Maciag

Law will not bill for duplicate work, nor will we bill for inter-attomey communications

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13.

14.

15.

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IV. THE FIRM IS DISINTERESTED
Bankruptcy Code Section 327 (a) provides in relevant part that a debtor, “with the court’s
approval, may employ one or more attorneys, accountants, auctioneers, or other
professional persons, that do not hold or represent an interest adverse to the estate, and
that are disinterested persons . . . .”
A “disinterested person,” as the term is defined in Bankruptcy Code Section 101(14)
means a person that:

Does not have an interest materially adverse to the interest of the
estate or of any class of creditors or equity security holders, by
reason of any direct or indirect relationship to, connection with, or
interest in, the debtor . . . ., or for any other reason .
Rule 2014(a) of the F ederal Rules of Bankruptcy Procedure sets forth the requirements

for any professional that seeks to be employed pursuant to Section 327(a). Rule 2014{a)
provides as follows:

(a) Application for an order of employment An order approving the
employment of attorneys, accountants, appraisers, auctioneers,
agents, or other professionals pursuant to 327. . . shall be made only
on application of the trustee or committee The application shall be
filed and . . . . a copy of the application shall be transmitted by the
applicant to the United States trustee. The application shall state the
specific facts showing the necessity for the employment, the name of
the person to be employed, the reasons for the selection, the
professional services to be rendered, any proposed arrangement for
compensation, and, to the best of the applicant’s knowledge, all of
the person’s connections with the debtor, creditors, any other party'
in interest, their respective attorneys and accountants, the United
States trustee, or any person employed in the office of the United
States trustee, The application shall be accompanied by a verified
statement of the person to be employed setting forth the person’s
connection with the debtor, creditors, any other party in interest, their

respective attorneys and accountants, the United States trustee, or

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any person employed in the office of the United States trustee.

16. The Firm respectfully submits that the Firm is disinterested lt has no interest adverse to

the Debtor or any other party in interest

17. Moreover, the Firm has made the requisite showing required by the Bankruptcy Rule

2014(a). See Affirmation of John P. Fazzio Esq., as filed herewith

18 Because the facts and circumstances set forth herein do not present novel issues of law,

it is respectfully requested that the requirement of filing a memorandum of law be Waived.

WHEREFORE , the Debtor respectfully requests that this Court enter the order, in the

form annexed hereto, authorizing the Firm to act as Debtor’s counsel nunc pro tunc as of the April

26, 2018 Petition Date, with compensation for such legal services to be paid upon application to

this Court, and for such other and further relief as is proper and just.

Date: June 20, 2018

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Respectiillly submitted,

  
 
  

FAZZIO LAW

  
 

/s/ John P. Fazzio
John P. Fazzio, Es -
Proposed Counsel t
FAZZIO LAW

26 Broadway, 21 s‘ Floor
New York, N.Y. 10004
(201) 529-08024

  
  

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Thaddeus R Maciag, Esq.
MACIAG LAW, LLC

475 Wall Street

Princeton, New Jersey 08540
(908) 704-8800

 

Proposed Counsel to the Debtor-in-Possession

 

 

In re: _ Case No.: 8-18-72852-reg

DOREEN HOFFMAN, Chapter ll
Debtor-in-Possession.
Judge: Hon. Robert E. Grossman

 

 

AFFIRMATION OF JOHN P. FAZZIO, ESQ.
IN SUPPORT OF APPLICATIGN FOR ENTRY OF
AN ORDER AUTHORIZING THE RETENTION
OF FAZZIO LAW AS COUNSEL FOR THE DEBTOR

John P. Fazzio, Esq., of full age, an attorney at law who has a pending application to

appear pro hac vice in this court, affirms the following under penalty of perjury:

1.

2.

I arn an attorney at law, and I am the principal of the law firm Fazzio Law (the “Firm”).
The Firm maintains its New York office for the practice of law at 26 Broadway, 21 “
Floor, New York, NY 10004, and its primary office for the practice of law at l 64 Franklin
Turnpike, Suite 4, Mahwah, NJ 07430.
The Firm is a disinterested person, as that term is defined in ll U.S.C. § 101(14) of the
Bankruptcy Code, in that it:

a. is not a creditor, equity security holder, or insider of the debtor:

b. is not, was not within two years before the date of the filing of the petition

(and has never at any time been) a director, officer or employee of the debtor; and

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c. does not have any interest materially adverse to the interest of the estate, of
any class of creditors or equity security holders, by reason of any direct or indirect
relationship to, connection with, or interest in, the debtor or for any other reason;
the F irm previously represented the Debtor in legal matters; any fees due as of the
filing of this case are waived; and
d. does not have any connection with the United States Trustee, or any person
employed in the Office of the United States Trustee.
The undersigned is experienced in litigation and has some experience in bankruptcy law
and litigation; we will be ably assisted in this case by our proposed co-counsel Thaddeus
R. Maciag Esq. of Maciag Law LLC, who has served as Lead Attorney for.the Debtor-in-
Possession in more than 95 Chapter 11 cases over the past 27 years and who has filed a
separate Application for Retention; I am the attorneywho will bear primary responsibility
for the representation of the _Debtor in issues or appearances handled by Fazzio Law;
Fazzio Law and any associates, paralegals or legal assistants, are individuals who also
fulfill the description in the following paragraphs
No agreement or understanding exists between Firm and any other person, other than as
permitted by Section 504 of the Bankruptcy Code, to share compensation received for
services rendered in connection with this/these case(s), nor shall Firm share or agree to
share compensation received for services rendered in connection with this case with any
other person other than as permitted by Section 504 of the Bankruptcy Code. Local New
York counsel Fazzio Law would be separately compensated for the professional time they
spend on the case; our agreement with the Debtor is that Fazzio Law and Maciag Law will
not bill for duplicate work, nor will we bill for inter-attomey communications

To the best of the undersigned’s lmowledge, the Firm does not have any interests that are

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adverse or could otherwise present a conflict between Firm or its attorneys, and the
Debtor. In addition, the undersigned has reviewed the current list of creditors and believes
that no conflicts exist between Firm or its attorneys, the Debtor’s creditors and the estate,

other than that we previously represented the Debtor in other legal matters prior to this
case being filed.

John P. Fazzio, Esq. has met with the Debtor on several oocasions, both in-person and in
telephone conference calls, to discuss workout options, loan modifications and the
possibility of filing a Chapter 11 Reorganization petition.

The F irm will make proper Applications for Compensation, with full disclosure. Prior to
the filing of the instant case, the Firm received no Chapter 11 retainer nom the Debtor,

since the bulk of the work on this case will be done by our proposed co-counsel Maciag
Law LLC, who did receive a retainer as detailed in the Application and A-fiirrnation filed
in this case in support of the Debtor’s Motion to Employ Maciag Law LLC as Chapter l l

counsel to the Debtor). Any funds owed to The Firm for prior work upon the filing of the
instant Chapter 1 l case are waived. The Firm will maintain time records of services
rendered in connection with the case. The Firm will also file the appropriate fee
applications on an ongoing basis in accordance with the local rules so that Court can
review said applications for interim and final compensation

The Firm is willing to be retained by the Debtor as counsel and will bill at at our standard
hourly rates, presently $375 for John P. Fazzio Esq.; $325 for other Attorneys in the firm;
$225 for our Managing Paralegal, and $125 for other Paralegals, provided that any
administrative or clerical work (i.e. copying, preparing mailings, etc.) undertaken by the
paralegal staff will be billed out at an hourly rate of only $55. In the event said rates

increase and this case is still pending at that date, the F irm will notify the Debtor, the

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10.

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Office of the U.S. Trustee and the Court of any increased rates, in accordance with the
administrative guidelines In addition, the Firm intends to seek reimbursement of certain
expenses it will incur, which will be included in the fec applications to be filed in this
casc.

The Debtor has selected the Firm for the reason that it is experienced in litigation and in
bankruptcy law, and can ably serve as local New York counsel, as assisted by proposed
co-counsel Thaddeus R. Maciag Esq. of the firm Maciag Law LLC; Mr. Maciag is very
experienced in Chapter 11 Reorganization law, having served as Lead Attorney to the
Debtor-in-Possession in more than 95 Chapter 11 Reorganization cases over the past 27
years and Will act as our co-counsel as needed. lt is accordingly submitted that the Firm
is qualified to represent the Debtor in this proceeding, It is accordingly submitted that the
Firm is qualified to represent the Debtor in this proceeding, believes that Firm is
competent to represent the interests of the Debtor on whose behalf representation is now
sought in all proceedings now pending or which may reasonably be expected to be
pending in this Court in the foreseeable future

Respectfully subrnitted,

FAZZIO LAW

  

/s/ John P. Fazzio
John P. Fazzio, Es .
Proposed Counsel t the Debtor
FAZZIO LAW
26 Broadway, 21 “ Floor
Date: June 20, 2018 New York, N.Y. 10004
' (201) 529-08024

  

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
In re:
DOREEN HOFFMAN, Case NO- 8'13'72852'1`€%
Chapter ll
Debtor(s)
x
CERTIFICATE OF SERVICE
The undersigned certifies that on JuNE 21, 2018 , a copy of the annexed Motion was

 

served by depositing same, enclosed in a properly addressed postage-paid envelope, in an official
depository under the exclusive care and custody of the United States Postal Service within the
State of New York, upon [below specify the name and mailing address of each party served]:

Dated: June 20 2018

 

 

Signatur% /

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IN THE UNITED STATES BANKRUPTCY

COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

In Re:
Doreen Hoffrnan

Debtor(s)

 

 

Chapter ll

Bankruptcy Case: 18--72852

AEEIDA¥H`£F_§EB¥IQE

I, John P. Fazzio I]], hereby affirm, under the penalty of perjury, that a true and correct
copy of the within Rule 1007 Affidavit, Notice of Motion to Admit Counsel Pro Hac Vice with
Affidavit and Proposed Order, Notice of Motion Employ Bankruptcy Counsel Thaddeus R.
Maciag as Co~Counsel with Application, Affirmation, and Proposed Form of Order, together
with this Certificate, was sent by first class, postage prepaid mail on the Creditor Counsel and
the Trustee and all other required parties in accordance with the Rules of Bankruptcy Procedure

on the date set forth below.

Henry Weinstein
37 Maple Avenue
Cedarhurst, NY l 1516

New City Funding Corp.
PO Box 121
Stony Point, NY 10980

Rushmore Loan Management
PO Box 52708
Irvine, CA 92619

Suffolk County Water
2045 Route 1112, Suite 5
Corarn, NY 11727

US Bank NA as Legal Title Trustee
200 Business Park Drive
Armonk, NY 10504

U.S. Intemal Revenue Service
PO Box 804527
Cincinnati, OH 45280-4527

AMCMA
4 Westchester Plaza, Suite 110
Elmsford, NY 10523

American Medical Collection
4 Westchester Plaza

via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First class Maii

via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

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Elmsford, NY 10523

Credit Collections Services
725 Canton Street
Norwood, MA 02062

Credit One Bank
PO Box 60500
City of Industry, CA 91715

Excluder Secrnity Systems
PO Box 1286
Massapequa, NY 11758

Fazzio'Law Offices
164 Franklin Turnpike
Mahwah, NJ 07430

Joyce Ciccone
9337 Santa Monica Way
New Port Richey, FL 34655

- Lennox Hill Hospital t
co-Automated Financial

4505 Veterans Mem. Hwy, Ste H
Lake Ronkonkoma, NY 11779

LI Anesthesiologist
3 Boyle Road
Selden, NY l 1784

Linda Cerami
107 Laurel Street
Patchogue, NY 11772

Mullen & Iannarone PC
300 East Main Street
Smithtown, NY 11787

NY State Dept. of Taxation
NYS Assessment Receivables
PO Box 4127

Binghamton, NY 13902-4127

National Grid
PO Box 11791
Newark, NJ 07101

Optimum Cable Vision
1111 Stewart Ave.
Bethpage, NY 1 1714

PSEG-LI
PO Box 888
Hicksville, NY 11802

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via ECF and First Class Mail

via ECF and First Class Mail

via ECF and First Class Mail

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Quest Diagnostics via ECF and First Class Mail

PO Box 7308
Hollister, MO 65673-7308

Stewart Brody DDS via ECF and First Class Mail

c-o Richard Sokoloff Esq.
900 S. 2nd Street, Suite l
Ronkonkoma, NY 11779

FAZZIO LAW OFFICES

Date: 06/21/2018 BY: /s/ John P. Fazzio III, Esguire
Fazzio Law Offices

164 Franklin Tpke
Mahwah, NJ 07430
Tel. 201-529-8024
Attorney for Debtor

